
48 So.3d 172 (2010)
Tamara ACKERMAN, Appellant,
v.
MIAMI RESCUE MISSION, INC., d/b/a Broward Outreach Center, Appellee.
No. 4D10-2891.
District Court of Appeal of Florida, Fourth District.
November 24, 2010.
Neil Rose and Dara L. Schottenfeld of Bernstein, Chackman, Liss &amp; Rose, Hollywood, and Russel Lazega of the Law Office of Russel Lazega, North Miami, for appellant.
Shelley H. Leinicke of Wicker, Smith, O'Hara, McCoy &amp; Ford, P.A., Ft. Lauderdale, for appellee.
PER CURIAM.
In this negligence action involving a trip and fall at the Broward Outreach Center, a homeless shelter, the trial court granted summary judgment in favor of the defendant Center. In this appeal of the summary judgment, the Center has filed a notice of consent to this court entering a decision "remanding this case to the trial court with instructions to vacate the summary final judgment that is the subject of this appeal." Upon a review the record, we accept appellee's concession of error and reverse.
*173 Reversed and remanded for further proceedings consistent with this decision.
STEVENSON, DAMOORGIAN and GERBER, JJ., concur.
